        Case 1:18-cr-00401-BLW Document 280 Filed 01/21/20 Page 1 of 1




CRIMINAL PROCEEDINGS - Change of Plea
  UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO
Judge: Candy W. Dale               Date: January 21, 2020
Courtroom Deputy/ESR: Amy Tate     Time: 9:58-10:31 AM
                                   Location: Boise, ID

        UNITED STATES OF AMERICA vs. STEVEN TODD THOMPSON
                       Case No.: 1:18-CR-401-BLW

Counsel for United States: AUSA Christopher Atwood and Alexis Klempel
Counsel for Defendant: Craig Durham, CJA (previously appointed)
Interpreter: N/A

Defendant orally WITHDREW Motion for Withdrawal of Counsel, Dkt. 258, and Motion
for Psychiatric Evaluation, Dkt. 261.
Motion, Dkt. 279, for withdrawal of Motion to Withdraw as Attorney, Dkt. 262,
GRANTED. Mr. Durham to remain as counsel in this matter.
Defendant placed under oath.
☒Waiver of Right to District Judge executed.
Defendant found competent to enter a knowing and voluntary plea.
Defendant is satisfied with representation of counsel.
Government stated for the record the elements and evidence of the charge(s).
Defendant advised of the sentencing guidelines and maximum penalties.
Defendant’s Constitutional Rights explained.
Defendant agrees with the elements of the charge(s) as stated by the Government.
Plea Agreement discussed and Defendant understands the terms of the agreement.
Defendant and counsel advised the change of plea is voluntary, all potential defenses
have been discussed and Defendant fully understand the rights which are being waived.
Defendant entered a plea of guilty to Count(s) One of the Third Superseding Indictment.
Plea accepted by the Court.
Sentencing set before Judge B. Lynn Winmill: April 15, 2020 at 10:00 AM
Court ordered a presentence investigation report.
    Original report to Counsel: March 4, 2020
    Notification of Objections: March 18, 2020
    Final Report Due: April 1, 2020
☒Report and Recommendation shall be entered recommending: dismissal of Counts 2 &
3 of the Third Superseding Indictment.
Defendant's custody status remains as previously ordered.

Any motions for departure, sentencing memorandums or letters in support must be filed
seven (7) days prior to the sentencing hearing. Sentencing hearing is scheduled for 1 hour.
